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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION                         rr ■ >c p |-|
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                                                                      CT: - K ' ? !: "Pv !' ; ."i'.   I^
JAMES TOLLE,                                                        Civil AgtionNo..\                 1
                             Plaintiff,
                                                                    COMPLAINT
       V.


ROCKWELL COLLINS CONTROL TECHNOLOGIES, INC., COLLINS AEROSPACE /d/b/a
Rockwell    Collins   Control Technologies, Inc., ROCKWELL               COLLINS         CONTROL
TECHNOLOGIES, INC. d^/a Rockwell Collins, Inc., ROCKWELL COLLINS, INC.,
COLLINS AEROSPACE d/b/a Rockwell Collins, Inc., ROCKWELL COLLINS CONTROL
TECHNOLOGIES, INC. /d/b/a United Technologies Corporation, ROCKWELL COLLINS,
INC. /d/b/a United Technologies Corporation, COLLINS AEROSPACE /d/b/a United
Technologies Corporation, and UNITED TECHNOLOGIES CORPORATION

                             Defendants.



       Plaintiff James Tolle (hereinafter "Tolle" or "Plaintiff"), pro se for his Complaint against

Defendants Rockwell Collins Control Technologies, Inc., Collins Aerospace /d/b/a Rockwell

Collins Control Technologies, Inc., Rockwell Collins Control Technologies, Inc. /d'b/a Rockwell

Collins, Inc., Rockwell Collins, Inc., Collins Aerospace /d/b/a Rockwell Collins, Inc., Rockwell

Collins Control Technologies, Inc. /d/b/a United Technologies Corporation, Rockwell Collins,

Inc. /d/b/a United Technologies Corporation, Collins Aerospace /d/b/a United Technologies

Corporation, and United Technologies Corporation (hereinafter "Rockwell Collins" or

"Defendants" individually and together), alleges as follows:
                                     NATURE OF CLAIMS


       1.     This is an action for damages brought pursuant to the Civil Rights Act of 1964, as

amended,(hereinafter, the "Civil Rights Act"), 42 U.S.C. §§ 2000e etseq.

       2.      Defendants Rockwell Collins unlawfully discriminated against Tolle and/or

subjected him to an unfair and hostile work environment by forcing Tolle to endure offensive
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